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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF SOUTH CAROLINA
                                    COLUMBIA DIVISION

                                    )
KIMBERLY C. BROWN,                  )
                                    )
                  Plaintiff,        )
                                    )
      v.                            )                    Civil Action No. 3:20-cv-02922-JMC-TER
                                    )
EATON CORPORATION,                  )
                                    )
                  Defendant.        )
____________________________________)

                                  CONFIDENTIALITY ORDER

        Whereas, the parties to this action (“parties”) have stipulated that certain discovery material

is and should be treated as confidential, and Defendant Eaton Corporation (“Defendant”) has

requested that the Court enter a Confidentiality Order; and whereas the Court has determined that

the terms set forth herein are appropriate to protect the respective interests of the parties, the public,

and the Court; accordingly, it is this 3rd day of November, 2020, ORDERED:

        1.      Scope. All documents produced in the course of discovery, all responses to

discovery requests, and all deposition testimony and deposition exhibits and any other materials

which may be subject to discovery (hereinafter collectively “documents”) shall be subject to this

Order concerning confidential information as set forth below.

        2.      Form and Timing of Designation. Confidential documents shall be so designated

by placing or affixing the word “CONFIDENTIAL” on the document in a manner which will not

interfere with the legibility of the document and which will permit complete removal of the

CONFIDENTIAL designation. Documents shall be designated CONFIDENTIAL prior to, or

contemporaneously with, the production or disclosure of the               documents.     Inadvertent or
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unintentional production of documents without prior designation as confidential shall not be

deemed a waiver, in whole or in part, of the right to designate documents as confidential as

otherwise allowed by this Order.

       3.      Documents Which May be Designated Confidential. Any party may designate

documents as confidential but only after review of the documents by an attorney 1 who has, in good

faith, determined that the documents contain information protected from disclosure by statute,

sensitive personal information, trade secrets, or confidential research, development, or commercial

information. The certification shall be made concurrently with the disclosure of the documents,

using the form attached hereto at Attachment A, which shall be executed subject to the standards

of Rule 11 of the Federal Rules of Civil Procedure. Information or documents which are available

in the public sector may not be designated as confidential.

       4.      Depositions. Portions of depositions shall be deemed confidential only if

designated as such when the deposition is taken or within seven business days after receipt of the

transcript. Such designation shall be specific as to the portions to be protected.

       5.      Protection of Confidential Material.

            a. General Protections. Documents designated CONFIDENTIAL under this Order

               shall not be used or disclosed by the parties, counsel for the parties, or any other

               persons identified below (¶ 5.b.) for any purposes whatsoever other than preparing

               for and conducting the litigation in which the documents were disclosed (including

               any appeal of that litigation). The parties shall not disclose documents designated




1
  The attorney who reviews the documents and certified them to be CONFIDENTIAL must be
admitted to the Bar of at least one state but need not be admitted to practice in the District of South
Carolina and need not apply for pro hac vice admission. By signing the certification, counsel
submits to the jurisdiction of this Court in regard to the certification.


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              as confidential to putative class members not named as plaintiffs in putative class

              litigation unless and until one or more classes have been certified.

          b. Limited Third Party Disclosures. The parties and counsel for the parties shall

              not disclose or permit the disclosure of any documents designated

              CONFIDENTIAL under the terms of this Order to any other person or entity except

              as set forth in subparagraphs (1)-(5) below, and then only after the person to whom

              disclosure is to be made has executed an acknowledgement (in the form set forth at

              Attachment B hereto), that he or she has read and understands the terms of this

              Order and is bound by it. Subject to these requirements, the following categories

              of persons may be allowed to review documents which have been designated

              CONFIDENTIAL pursuant to this Order:

                    1)   Counsel and employees of counsel for the parties who have

                         responsibility for the preparation and trial of the lawsuit;

                    2)   Parties and employees of a party to this Order but only to the extent

                         counsel shall certify that the specifically named individual party or

                         employee’s assistance is necessary to the conduct of the litigation in

                         which the information is disclosed 2;

                    3)   Court reporters engaged for depositions and those persons, if any,

                         specifically engaged for the limited purpose of making photocopies of

                         documents;




2
  At or prior to the time such party or employee completes his or her acknowledgment of review
of this Order and agreement to be bound by it (Attachment B hereto), counsel shall complete a
certification in the form shown at Attachment C hereto. Counsel shall retain the certification
together with the form signed by the party or employee.


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                      4)   Consultants, investigators, or experts (hereinafter referred to

                           collectively as “experts”) employed by the parties or counsel for the

                           parties to assist in the preparation and trial of the lawsuit; and

                      5)   Other persons only upon consent of the producing party or upon Order

                           of the Court and on such conditions as are agreed to or ordered.

            c. Control of Documents. Counsel for the parties shall take reasonable efforts to

               prevent unauthorized disclosure of documents designated as Confidential pursuant

               to the terms of this Order. Counsel shall maintain a record of those persons,

               including employees of counsel, who have reviewed or been given access to the

               documents along with the originals of the forms signed by those persons

               acknowledging their obligations under this Order.

            d. Copies. All copies, duplicates, extracts, summaries, or descriptions (hereinafter

               referred to collectively as “copies”), of documents designated as Confidential under

               this Order or any portion of such a document shall be immediately affixed with the

               designation “CONFIDENTIAL” if the word does not already appear on the copy.

               All such copies shall be afforded the full protection of this Order.

       6.      Filing of Confidential Materials. In the event a party seeks to file any material

that is subject to protection under this Order with the court, that party shall take appropriate action

to insure that the documents receive proper protection from public disclosure including: (1) filing

a redacted document with the consent of the party who designated the document as confidential;

(2) where appropriate (e.g., in relation to discovery and evidentiary motions), submitting the

documents solely for in camera review; or (3) where the preceding measures are not adequate,

seeking permission to file the document under seal pursuant to the procedural steps set forth in




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Local Civil Rule 5.03, D.S.C. or such other rule or procedure as may apply in the relevant

jurisdiction.   Absent extraordinary circumstances making prior consultation impractical or

inappropriate, the party seeking to submit the document to the court shall first consult with counsel

for the party who designated the document as confidential to determine if some measure less

restrictive than filing the document under seal may serve to provide adequate protection. This

duty exists irrespective of the duty to consult on the underlying motion. Nothing in this Order

shall be construed as a prior directive to the Clerk of Court to allow any document be filed under

seal. The parties understand that documents may be filed under seal only with the permission of

the court after proper motion pursuant to Local Civil Rule 5.03.

        7.      Greater Protection of Specific Documents. No party may withhold information

from discovery on the ground that it requires protection greater than that afforded by this Order

unless the party moves for an Order providing such special protection.

        8.      Challenges to Designation as Confidential. Any CONFIDENTIAL designation

is subject to challenge. The following procedures shall apply to any such challenge.

             a. The burden of proving the necessity of a CONFIDENTIAL designation remains

                with the party asserting confidentiality.

             b. A party who contends that documents designated CONFIDENTIAL are not entitled

                to confidential treatment shall give written notice to the party who affixed the

                designation of the specific basis for the challenge. The party who so designated the

                documents shall have fifteen (15) days from service of the written notice to

                determine if the dispute can be resolved without judicial intervention and, if not, to

                move for an Order confirming the CONFIDENTIAL designation.




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      c. Notwithstanding any challenge to the designation of documents as confidential, all

          material previously designated CONFIDENTIAL shall continue to be treated as

          subject to the full protections of this Order until one of the following occurs:

             1) the party who claims that the documents are confidential withdraws such

                 designation in writing;

             2) the party who claims that the documents are confidential fails to move

                 timely for an Order designating the documents as confidential as set forth

                 in paragraph 8.b. above; or

             3) the court rules that the documents should no longer be designated as

                 confidential information.

      d. Challenges to the confidentiality of documents may be made at any time and are

          not waived by the failure to raise the challenge at the time of initial disclosure or

          designation.

9. Treatment on Conclusion of Litigation.

      a. Order Remains in Effect. All provisions of this Order restricting the use of

          documents designated CONFIDENTIAL shall continue to be binding after the

          conclusion of the litigation unless otherwise agreed or ordered.

      b. Destruction of CONFIDENTIAL Documents. Within thirty (30) days after the

          conclusion of the litigation, including conclusion of any appeal, all documents

          treated as confidential under this Order, including copies as defined above (¶5.d.)

          shall be returned to the producing party unless: (1) the document has been entered

          as evidence or filed (unless introduced or filed under seal); (2) the parties stipulate

          to destruction in lieu of return; or (3) as to documents containing the notations,




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               summations, or other mental impressions of the receiving party, that party elects

               destruction. Notwithstanding the above requirements to return or destroy

               documents, counsel may retain attorney work product including an index which

               refers or relates to information designated CONFIDENTIAL so long as that work

               product does not duplicate verbatim substantial portions of the text of confidential

               documents. This work product continues to be Confidential under the terms of this

               Order. An attorney may use his or her work product in a subsequent litigation

               provided that its use does not disclose the confidential documents.

       10.     Order Subject to Modification. This Order shall be subject to modification on

motion of any party or any other person who may show an adequate interest in the matter to

intervene for purposes of addressing the scope and terms of this Order. The Order shall not,

however, be modified until the parties shall have been given notice and an opportunity to be heard

on the proposed modification.

       11.     No Judicial Determination. This Order is entered based on the representations

and agreements of the parties and for the purpose of facilitating discovery. Nothing herein shall

be construed or presented as a judicial determination that any specific document or item of

information designated as CONFIDENTIAL by counsel is subject to protection under Rule 26(c)

of the Federal Rules of Civil Procedure or otherwise until such time as a document-specific ruling

shall have been made.

       12.     Persons Bound. This Order shall take effect when entered and shall be binding

upon: (1) counsel who signed below and their respective law firms; and (2) their respective clients.




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       IT IS SO ORDERED.

                                           s/Thomas E. Rogers, III
                                           Hon. Thomas E. Rogers, III
                                           UNITED STATES MAGISTRATE JUDGE

November 3, 2020
Florence, South Carolina




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                                        ATTACHMENT A

                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                                  COLUMBIA DIVISION

                                    )
KIMBERLY C. BROWN,                  )
                                    )
                  Plaintiff,        )
                                    )
      v.                            )                 Civil Action No. 3:20-cv-02922-JMC-TER
                                    )
EATON CORPORATION,                  )
                                    )
                  Defendant.        )
____________________________________)

     CERTIFICATION BY COUNSEL OF DESIGNATION OF INFORMATION AS
                           CONFIDENTIAL

       Documents produced herewith [whose Bates numbers are listed below (or) which are
listed on the attached index] have been marked as CONFIDENTIAL subject to the
Confidentiality Order entered in this action which Order is dated November , 2020.

       By signing below, I am certifying that I have personally reviewed the marked documents
and believe, based on that review, that they are properly subject to protection under the terms of
Paragraph 3 of the Confidentiality Order.

        Check and complete one of the two options below.
             I am a member of the Bar of the United States District Court for the District of
              South Carolina. My District Court Bar number is #___________.
        □     I am not a member of the Bar of the United States District Court for the District of
              South Carolina but am admitted to the Bar of one or more states. The state in which
              I conduct the majority of my practice is [state in which I practice most] where by
              Bar number is [that state’s Bar #]. I understand that by completing this certification
              I am submitting to the jurisdiction of the United States District Court for the District
              of South Carolina as to any matter relating to this certification.


Date:
                                               Signature of Counsel


                                               Printed Name of Counsel



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                                       ATTACHMENT B

                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                                  COLUMBIA DIVISION

                                    )
KIMBERLY C. BROWN,                  )
                                    )
                  Plaintiff,        )
                                    )
      v.                            )                Civil Action No. 3:20-cv-02922-JMC-TER
                                    )
EATON CORPORATION,                  )
                                    )
                  Defendant.        )
____________________________________)

ACKNOWLEDGEMENT OF UNDERSTANDING AND AGREEMENT TO BE BOUND

         The undersigned hereby acknowledges that he or she has read the Confidentiality Order
dated November , 2020, in the above captioned action, understands the terms thereof, and agrees
to be bound by such terms. The undersigned submits to the jurisdiction of the United States District
Court for the District of South Carolina in matters relating to the Confidentiality Order and
understands that the terms of said Order obligate him/her to use discovery materials designated
CONFIDENTIAL solely for the purposes of the above-captioned action, and not to disclose any
such confidential information to any other person, firm or concern.

         The undersigned acknowledges that violation of the Stipulated Confidentiality Order may
result in penalties for contempt of court.

       Name:                  ____________________________
       Job Title:             ____________________________
       Employer:              ____________________________
       Business Address:      ____________________________
                              ____________________________
                              ____________________________


Date: _______________________________                       _______________________________




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                                       ATTACHMENT C

                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                                  COLUMBIA DIVISION

                                    )
KIMBERLY C. BROWN,                  )
                                    )
                  Plaintiff,        )
                                    )
      v.                            )                 Civil Action No. 3:20-cv-02922-JMC-TER
                                    )
EATON CORPORATION,                  )
                                    )
                  Defendant.        )
____________________________________)

           CERTIFICATION OF COUNSEL OF NEED FOR ASSISTANCE OF
                            PARTY/EMPLOYEE

       Pursuant to the Confidentiality Order entered in this action, most particularly the provisions
of Paragraph 5.b.2., I certify that the assistance of [name of assistant [att C]] is reasonably
necessary to the conduct of this litigation and that this assistance requires the disclosure to this
individual of information which has been designated as CONFIDENTIAL.

        I have explained the terms of the Confidentiality Order to the individual named above and
will obtain his or her signature on an “Acknowledgment of Understanding and Agreement to be
Bound” prior to releasing any confidential documents to the named individual and I will release
only such confidential documents as are reasonably necessary to the conduct of the litigation.

       The individual named above is:

       ❑       A named party;

       ❑       An employee of named party [employee of named party]. This employee’s job
               title is [employee's job title] and work address is [employee's work address].



Date: [date attachment C signed]                              _____________________________
                                                              Signature




                                                 10
